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United States Bankruptcy Court for the Southern District of Texas

                                                                                                     For Court Use Only
 Name of Debtor: Compute North Holdings, Inc.                                                        Claim Number:        0000010026

 Case Number:          22-90273                                                                      File Date:           10/24/2022 03:15:03



Proof of Claim (Official Form 410)
 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. With the exception of 503(b)(9),
 do not use this form to make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



                                                                                                                                                              04/22




Part 1:      Identify the Claim

1. Who is the current creditor?                                                 Nelu Mihai
Name of the current creditor (the person or entity to be paid for this claim): _______________________________________________________________________

Other names the creditor used with the debtor: _______________________________________________________________________________________________


2.      Has this claim been acquired from someone else?    □✔ No □ Yes. From whom? ___________________________________________________________

3.      Where should notices and payments to the creditor be sent? Federal Rule of Bankruptcy Procedure (FRBP) 2002(g)
Where should notices to the creditor be sent?                                     Where should payments to the creditor be sent? (if different)

Name          Nelu Mihai
             ________________________________________________________              Name        ________________________________________________________

Address        201 Harrison Street
              _______________________________________________________              Address     _______________________________________________________
               Suite 210
              _______________________________________________________                          _______________________________________________________

              _______________________________________________________                          _______________________________________________________
              San Francisco
City          _______________________________________________________              City        _______________________________________________________
               CA                                   94105
State         ______________________      ZIP Code _______________________         State       ______________________        ZIP Code _______________________

Country (if International): __________________________________________             Country (if International): __________________________________________
              4084103896
Phone:       _______________________________________________________               Phone:     _______________________________________________________
              nelumihai@icloud.com
Email:       _______________________________________________________               Email:     _______________________________________________________


4. Does this claim amend one already filed?                                        5. Do you know if anyone else has filed a proof of claim for this claim?
□ No                                                                               □✔ No
□✔ Yes.                                                                            □ Yes.
                                                      0000010025
     Claim number on court claims register (if known) _____________________           Who made the earlier filing?
                        10/21/2022 3:53:47 PM
     Filed on ______________________________________________________                  _____________________________________________________________
                                 MM / DD / YYYY

                                                                               Page 1 of 3
Part 2:               Case About
            Give Information 22-90273      Document
                                 the Claim as              1301-1
                                              of the Date the Case Was Filed
                                                                       Filed in TXSB on 10/04/23                                        Page 2 of 20
 6. Do you have any number you use to                                                                   8. What is the basis of the claim?
                                                7. How much is the claim?
    identify the debtor?                           150,000.00                unliquidated
                                                $_______________________________________
□
✔ No
                                                                                                       Examples: Goods sold, money loaned, lease, services performed,
                                                                                                       personal injury or wrongful death, or credit card. Attach redacted
□ Yes.                                          Does this amount include interest or other             copies of any documents supporting the claim required by Bankruptcy
Last 4 digits of the debtor’s account or any                                                           Rule 3001(c). Limit disclosing information that is entitled to privacy,
                                                charges?
number you use to identify the debtor:                                                                 such as health care information.

     ____ ____ ____ ___
                                                □✔ No
                                                □ Yes. Attach statement itemizing interest, fees,       Employee - Wages, Benefits, Severance
                                                                                                       _________________________________________________________
                                                         expenses, or other charges required by
                                                         Bankruptcy Rule 3001(c)(2)(A).

9. Is all or part of the claim secured?                                 10. Is this claim based on a lease?         11. Is this claim subject to a right of setoff?
□
✔ No                                                                    □
                                                                        ✔ No                                        □
                                                                                                                    ✔ No
□ Yes. The claim is secured by a lien on property.                      □ Yes. Amount necessary to cure             □ Yes. Identify the property:
                                                                        any default as of the date of petition.
Nature of property:
□ Real estate. If the claim is secured by the debtor’s principal        $_____________________________               ___________________________________________

residence, file a Mortgage Proof of Claim Attachment (official Form
410-A) with this Proof of Claim.
□ Motor vehicle                                                         12. Is all or part of the claim entitled to priority              A claim may be partly priority and
                                                                            under 11 U.S.C. § 507(a)?                                     partly nonpriority. For example, in
□ Other. Describe:
                        ____________________________________            □
                                                                        ✔ No
                                                                                                                                          some categories, the law limits the
                                                                                                                                          amount entitled to priority.
Basis
i     for perfection:                                                   □ Yes. Check one:                                                 Amount entitled to priority
                          _____________________________________
Attach redacted copies of documents, if any, that show evidence of
                                                                        □ Domestic support obligations (including alimony and             $_____________________
perfection of security interest (for example, a mortgage, lien,         child support) under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
certificate of title, financing statement, or other document that       □  Up to $3,350* of deposits toward purchase, lease, or           $_____________________
shows the lien has been filed or recorded.)                             rental of property or services for personal, family, or
Value of property:                        $_____________________        household use. 11 U.S.C. § 507(a)(7).

Amount of the claim that is secured:      $_____________________
                                                                        □ Wages, salaries, or commissions (up to $15,150*)                $_____________________
                                                                        earned within 180 days before the bankruptcy petition is
Amount of the claim that is unsecured: $_____________________           filed or the debtor’s business ends, whichever is earlier. 11
(The sum of the secured and unsecured amounts should match the          U.S.C. § 507(a)(4).                                               $_____________________
amount in line 7.)                                                      □ Taxes or penalties owed to governmental units.
                                                                        11 U.S.C. § 507(a)(8).
Amount necessary to cure any                                                                                                              $_____________________
default as of the date of the petition: $_____________________          □ Contributions to an employee benefit plan. 11 U.S.C. §
                                                                        507(a)(5).
Annual Interest Rate (when case was filed)       ______________%                                                                          $_____________________
                                                                        □ Other. Specify subsection of 11 U.S.C. § 507 (a)
                                               □ Fixed □ Variable       (___________) that applies.
                                                                        * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun
                                                                        on or after the date of adjustment.


13. Does this claim qualify as an Administrative Expense under 11 U.S.C. § 503(b)(9)?
□
✔ No
□ Yes. Amount that qualifies as an Administrative Expense under 11 U.S.C. § 503(b)(9): $_____________________________




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Part 3:    Sign BelowCase 22-90273                Document 1301-1 Filed in TXSB on 10/04/23 Page 3 of 20
The person completing       Check the appropriate box:
this proof of claim must    □
                            ✔ I am the creditor.
sign and date it. FRBP
9011(b).
                            □ I am the creditor’s attorney or authorized agent.
                            □ I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
If you file this claim      □ I am a guarantor, surety, endorser, or other co-debtor. Bankruptcy Rule 3005.
electronically, FRBP
5005(a)(2) authorizes       I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the amount of the claim,
courts to establish local   the creditor gave the debtor credit for any payments received toward the debt.
rules specifying what a     I have examined the information in this Proof of Claim and have a reasonable belief that the information is true and correct.
signature is.
                            I declare under penalty of perjury that the foregoing is true and correct.
A person who files a
fraudulent claim could         Nelu Mihai                                                                     10/24/2022 03:15:03
                             _____________________________________
                            ____________________________________________________________                     __________________________________
be fined up to $500,000,
                            Signature                                                                       Date
imprisoned for up to 5
years, or both. 18 U.S.C.   Provide the name and contact information of the person completing and signing this claim:
§§ 152, 157, and 3571.
                                      Nelu Mihai
                            Name      ______________________________________________________________________________________________
                                    201 Harrison Street
                            Address _____________________________________________________________________________________________
                                      Suite 210
                                      _____________________________________________________________________________________________

                                      _____________________________________________________________________________________________
                                      San Francisco
                            City      _____________________________________________________________________________________________
                                      CA                                                    94105
                            State     ________________________________________________ Zip _________________________________________
                                                        United States
                            Country (in international) _______________________________________________________________________________
                                      4084103896
                            Phone     _____________________________________________________________________________________________
                                       nelumihai@icloud.com
                            Email     _____________________________________________________________________________________________




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                              SEPARATION AGREEMENT AND GENERAL RELEASE

                   This Separation Agreement and General Release (“Agreement”) is made and entered into

           by and between Nelu Mihai (“Executive”) and Compute North LLC (the “Company”) and

           Compute North Holdings, Inc. (the “Parent”) on the date set forth below, to be effective on the

           Effective Date (as defined herein). Each of Executive, the Company, and the Parent is herein

           individually referred to as a “Party” and together as the “Parties.”

                   WHEREAS, effective February 15, 2021, Executive was granted an option to purchase

           27,876 shares of Class B non-voting common stock of Compute North Holdings, Inc. subject to a

           Stock Option Agreement between the Parent and the Executive and further subject to the terms

           and conditions of that certain Compute North Holdings, Inc. 2020 Stock Incentive Plan (the “Stock

           Plan”), which Option was granted as an incentive stock option under Section 422(a) of the Internal

           Revenue Code of 1986, as amended (the “Code”) (the “Incentive Stock Option” or “ISO”); and

                   WHEREAS, the Incentive Stock Option is evidenced and further governed by a Stock

           Option Agreement executed by the Parties (the “ISO Agreement”); and

                   WHEREAS, effective February 15, 2021, Executive was granted an option to purchase

           16,808 shares of Class B non-voting common stock of Compute North Holdings, Inc. subject to a

           Stock Option Agreement between the Parent and the Executive and further subject to the terms

           and conditions of the Stock Plan, which Option was granted as a non-statutory stock option subject

           to Code section 83(a) (the “Non-Qualified Stock Option” or “NQSO”); and

                   WHEREAS, the Non-Qualified Stock Option is evidenced and further governed by a Stock

           Option Agreement executed by the Parties (the “NQSO Agreement”); and




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                   WHEREAS, Executive was employed by the Company and/or its predecessor or affiliated

           companies beginning on or about February 15, 2021, as the Company’s Chief Technology Officer

           and Executive’s employment with the Company as an employee will end for all time as of March

           31, 2022 (the “Separation Date”); and

                   WHEREAS, Executive and the Company mutually agree to end the at-will employment

           relationship between them as of the Separation Date and to resolve any potential claims between

           them arising out of or relating to Executive’s employment, and the cessation thereof, according to

           the terms and conditions set forth in this Agreement.

                   NOW, THEREFORE, in consideration of the mutual promises contained in this

           Agreement, and other good and valuable consideration, the sufficiency of which is hereby

           acknowledged, the Parties agree to be legally bound by the following promises and

           acknowledgments:

                   1.       Separation Date. Executive’s employment with the Company terminated as an

           employee for all purposes effective as of the Separation Date.

                   2.       Effective Date. The “Effective Date” of this Agreement is the fifteenth (15th) day

           after Executive’s execution of this Agreement, as set forth in Section 5 below, provided that

           Executive (1) does not exercise Executive’s right to rescind (revoke) as set forth in that paragraph,

           and (2) otherwise fully complies with the terms of this Agreement during the interim period after

           he executes the Agreement.

                   3.       Meaning of “Released Parties.” The term “Released Parties,” as used in this

           Agreement, includes the Company as well as the Company’s PEO provider, Insperity PEO

           Services, L.P. (“Insperity”) and all of the Company’s and Insperity’s past, present, and future

           shareholders, parents, subsidiaries, and affiliates, joint venturers, and other current or former


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           related entities thereof, and all of the past, present, and future officers, directors, executives, agents,

           insurers, legal counsel, and successors and assigns of said entities.

                   4.       Executive’s Release of Claims. Subject to Paragraph 7 below, in exchange for

           valuable consideration, including that contained herein, Executive, on behalf of himself, his

           spouse, representatives, agents, heirs, trusts and assigns, hereby unconditionally and irrevocably

           releases Released Parties to the maximum extent permitted by law, from any and all claims, debts,

           obligations, demands, judgments, or causes of action of any kind whatsoever, whether known or

           unknown, that Executive has or may have had prior to the date of Executive’s execution of this

           Agreement for any action or omission by any of the Released Parties and/or due to any matter

           whatsoever relating to Executive’s employment or cessation of employment with the Company.

           Without limiting in any way the foregoing general release, this release specifically includes but is

           not limited to the following:

                   a.       All claims and causes of action arising under the following laws, as amended:

                            Section 1981 of the Civil Rights Act of 1866; Title VII of the Civil Rights Act; the

                            Americans with Disabilities Act; the Age Discrimination in Employment Act

                            and/or Older Workers Benefit Protection of 1990; the Family and Medical Leave

                            Act; the Worker Adjustment and Retraining Notification Act; the National Labor

                            Relations Act; the Labor Management Relations Act; the Fair Credit Reporting Act;

                            the Executive Retirement Income Security Act of 1974; the Genetic Information

                            Nondiscrimination Act of 2008; the Health Insurance Portability and

                            Accountability Act; the Occupational and Safety Health Act; the Equal Pay Act;

                            Executive Orders 11246 and 11141; the Consolidated Omnibus Budget

                            Reconciliation Act of 1986; the Rehabilitation Act of 1973; the Electronic




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                            Communications Privacy Act of 1986 (including the Stored Communications Act);

                            the Minnesota Human Rights Act (MHRA) and any other federal, state, or local

                            law or regulation regarding employment; and

                   b.       All claims and causes of action arising under any other federal, state or local law,

                            regulation or ordinance, including for employment discrimination on any basis,

                            hostile work environment, retaliation, wrongful discharge, retaliatory discharge,

                            constructive discharge, unsafe working conditions, breach of express or implied

                            contract, breach of collective bargaining agreement, breach of implied covenant of

                            good faith and fair dealing, fraud, detrimental reliance, promissory estoppel,

                            defamation, negligence, negligent or intentional misrepresentation, invasion of

                            privacy, defamation, libel, slander, battery, failure to pay wages, bonuses,

                            commissions, or other compensation, attorneys’ fees, interference with economic

                            gain or contractual relations, and intentional and negligent infliction of emotional

                            distress or “outrage”; and

                   c.       All claims and causes of action by Executive that Released Parties have acted

                            unlawfully or improperly in any manner whatsoever, prior to the date of

                            Executive’s execution of this Agreement.

                   Nothing in this release of claims shall be interpreted to release Executive’s right, if any, to

           any vested employment-related benefits. Executive acknowledges that this release constitutes a

           full settlement, accord, and satisfaction of all claims covered by this release.

                   5.       Acknowledgement. Executive acknowledges and agrees that Executive has been

           provided a copy of this Agreement, has signed this Agreement voluntarily, and with full

           knowledge of its effects. In addition, Executive hereby acknowledges and agrees as follows:




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                   a.       This Agreement has been written in a manner that is calculated to be understood,

                            and is understood, by Executive;

                   b.       The release provisions of this Agreement apply to any rights Executive may have

                            under the Age Discrimination in Employment Act up to the date of this Agreement;

                   c.       The release provisions of this Agreement do not apply to any rights or claims

                            Executive may have under the Age Discrimination in Employment Act that arise

                            after the date he signs this Agreement;

                   d.       The release provisions of this Agreement do not apply to any rights or claims

                            Executive may have if Paragraph 16 (“Mutual Non Disparagement”) is breached

                            by the Released Parties after the date he signs this Agreement;

                   e.       Executive has been advised that he should consult with an attorney prior to signing

                            this Agreement;

                   f.       Executive has been provided a period of twenty-one (21) calendar days (the

                            “Review Period”) from the date he was provided this Agreement to consider it.

                            Executive may sign this Agreement before the expiration of the Review Period, but

                            if Executive does, Executive agrees that he is knowingly and expressly waiving

                            any remaining portion of the specified time period;

                   g.       If Executive signs this Agreement, pursuant to the Minnesota Human Rights Act

                            (MHRA), Executive may rescind (revoke) his waiver or release of rights or

                            remedies under the MHRA within fifteen (15) calendar days after signing this

                            Agreement. Pursuant to the Age Discrimination in Employment Act (ADEA),

                            Executive may revoke his waiver or release of rights under the ADEA within seven

                            (7) calendar days after signing this agreement. To be effective, any rescission or




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                            revocation must be in writing and delivered to David Movius, Esq., General

                            Counsel, Compute North LLC, 7575 Corporate Way, Eden Prairie, MN 55344

                            either by hand or by mail, within the applicable seven or fifteen-day period. If sent

                            by mail, the rescission must be postmarked within the applicable seven (7) or fifteen

                            (15) day period, properly addressed to the Company, and sent by certified mail,

                            return receipt requested. Should Executive exercise Executive’s right to rescind or

                            revoke a waiver and release pursuant to the terms of this section, Executive shall

                            not receive any of the consideration set forth in Paragraph 9 (“Consideration”) and

                            terms and conditions the ISO Agreement and NQSO Agreement, presented to

                            Employee as part of his employment offer, shall remain in effect, without

                            modification.

                   6.       No Admission of Liability. Executive acknowledges that neither this Agreement

           nor the fact of the Parties’ resolution shall be construed as an admission by the Company or any

           of the Released Parties that they have acted wrongfully or that Executive has or had any valid

           rights or claims whatsoever, and Executive acknowledges that the Released Parties specifically

           deny any liability or wrongful acts. Moreover, neither this Agreement, nor anything herein, shall

           be admissible in any proceeding as evidence of, or an admission by the Released Parties of, any

           violation of any federal, state, or local laws, or of their own policies or procedures.

                   7.       Protected Rights. Executive understands that nothing in this Agreement shall be

           construed to prohibit him from filing a charge with or participating in an investigation or

           proceeding conducted by the Equal Employment Opportunity Commission, the National Labor

           Relations Board, or any similar state or federal agency. However, Executive understands that he

           has waived and released any and all claims for money damages and equitable relief that Executive




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           may recover from Released Parties pursuant to the filing or prosecution of any administrative

           charge against Released Parties, or any resulting civil proceeding or lawsuit brought on his behalf

           for the recovery of such relief, and which arises out of the matters that are and may be released or

           waived by this Agreement. Executive also understands that this Agreement does not limit his

           ability to communicate with any government agencies or otherwise participate in any investigation

           or proceeding that may be conducted by any government agency, including providing documents

           or other information, without notice to the Company. This Agreement also does not limit

           Executive’s right to receive an award for information provided to any government agencies.


                   8.       Accrued Obligations. Company will pay all of Executive’s accrued but unpaid

           vacation, expense reimbursements, wages, and other benefits due to the Executive under any

           Company-provided plans, policies, or arrangements as of the Executive’s termination date (the

           “Accrued Obligations”). Expense reimbursements are subject to the applicable Section 409A

           requirements set forth in Paragraph 12, below. The Company and the Parent will timely and

           properly provide to the Executive the documentation and instructions needed to continue health

           care coverage pursuant to the Consolidated Omnibus Budget Reconciliation Act of 1985

           ("COBRA").


                   9.       Consideration. In exchange for executing and not revoking this Agreement,

           Executive shall receive from the Company (and not from Insperity, which has no independent or

           other payment obligations), the following:

                   a.       Cash Severance. As severance, the Company will pay Executive three hundred

                            thousand dollars ($300,000) over a fourty four (44) week period commencing as of

                            the Effective Date; such amount to be paid in substantially equal installments of



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                            $13,636.36 each, payable over 22 payperiods, with payments made on the same

                            date(s) as base salary are paid to the Company’s other executives. Executive’s right

                            to severance payments under this paragraph shall prospectively end if Executive

                            breaches any portion of this Agreement prior to the end of this 44 week period. If

                            the Company or Parent fail to pay an installment on time, at the same date(s) as

                            base salary are paid to the Company’s other executives, the Company will pay a

                            penalty of 2% of the delayed installment per every delayed day.

                   b.       Extended Incentive Stock Option Exercise and Vesting Opportunity. As of the

                            Separation Date, Executive is currently vested in 13,938 of the 27,876 Options

                            granted thereunder (the “Vested ISOs”), and has 13,938 Options that have not yet

                            vested (the “Unvested ISOs”). Moreover, pursuant to Section 12.4 of the Stock

                            Plan, failure to exercise the Vested ISOs within such 3 month period will result in

                            any unexercised portion of the ISO being deemed to be a non-qualified stock option

                            (and not an incentive stock option under Code section 422). Accordingly, in the

                            event Executive fails to exercise the 13,938 Vested ISOs within 3 months of the

                            Separation Date, the ISO will be deemed to be a non-qualified stock option. In

                            addition, on that date which is 3 months following the Separation Date, the deadline

                            for Executive to exercise the Vested ISOs will be extended to March 31, 2023. All

                            of the Unvested ISOs will immediately and permanently forfeit effective on the

                            Separation Date. Executive will have 90 days in which he may exercise any Vested

                            ISOs without restriction. However, starting July 1, 2022, and notwithstanding

                            anything in the foregoing to the contrary, Executive’s right to exercise any




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                            unexercised Vested ISOs will immediately expire if Executive is in breach of any

                            portion of this Agreement.”

                   c.       Extended Non-Qualified Stock Option Exercise Opportunity. As of the

                            Separation Date, Executive is currently vested in 8,404 of the 16,808 Options

                            granted thereunder (the “Vested NQSOs”), and has 8,404 Options that have not yet

                            vested (the “Unvested NQSOs”). In addition, the deadline for Executive to exercise

                            the Vested NQSOs will be extended to March 31, 2023. All of the Unvested

                            NQSOs will immediately and permanently forfeit effective on the Separation Date.

                            Executive will have 90 days in which he may exercise any Vested NQSOs without

                            restriction. However, starting July 1, 2022, and notwithstanding anything in the

                            foregoing to the contrary, Executive’s right to exercise any unexercised Vested

                            NQSOs will immediately expire if Executive is in breach of any portion of this

                            Agreement

                   d.       Additional Consideration. As additional consideration under this Agreement,

                            Executive shall be entitled to a payment in the amount of $7,258.23, payable a

                            single lump sum on the same date the first cash severance payment installment is

                            paid under subparagraph b, above, subject to applicable deductions and

                            withholdings; provided however, Executive’s right to this additional consideration

                            shall forfeit if the Executive breaches any portion of this Agreement prior to the

                            date this additional consideration is paid.

                   10.      COBRA Benefit. . The Company and the Parent will timely and properly provide

           to the Executive the documentation and instructions needed to continue health care coverage




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           pursuant to the Consolidated Omnibus Budget Reconciliation Act of 1985 ("COBRA"), ensuring

           that there will be sufficient time left, required for the timely processing of the “COBRA”

           enrollment. If the Executive is to timely and properly elect to continue health care coverage

           pursuant to the Consolidated Omnibus Budget Reconciliation Act of 1985 ("COBRA"), the

           Company will reimburse one hundred percent (100%) of the COBRA premium required for

           Executive and Executive's dependents (if any) under the Company's group medical and dental

           plans for coverage continuation through November 30, 2022 or such earlier date as Executive

           ceases to be eligible for COBRA. From and after November 30, 2022, payment of the premium

           required for the duration of the COBRA continuation period will be the sole responsibility of the

           Executive. Executive’s right to subsidized COBRA coverage under this paragraph shall

           prospectively terminate in the event Executive breaches the terms of this Agreement.

                   g.       No Other Payments.       For the avoidance of doubt and further clarification,

                            payments to Executive under this Paragraph 9 are the only payments Executive will

                            receive from the Company on account of the separation of his employment with the

                            Company as an employee.

                   h.       Withholding Taxes. The Company shall be entitled to withhold from any payment

                            due to Executive hereunder any amounts required to be withheld by applicable tax

                            laws or regulations.

                   11.      Return of Company Property.            Executive agrees to return all Company

           documents and other Company property, including but not limited to computers, laptops, and

           tablets, and phones and any other electronic device, software or hardware currently in Executive’s

           possession, care, custody, or control, as requested and within the time-frame to be specified by the

           Company.



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                   12.      Confidentiality and Invention Assignment Agreement. Executive

           acknowledges the validity, enforceability, and continuing effect of the Confidentiality and

           Invention Assignment Agreement he previously executed on or about February 15, 2021

           according to its terms and to the maximum extent possible.

                   13.      Additional Acknowledgements. On or about February 15, 2021, Executive

           represented and acknowledged, in a signed document he submitted to the Company, that he had

           various prior inventions or original works of authorship; Executive hereby confirms that there

           have been no changes to the Exhibit A that constitutes his acknowledgement.

                   11.      No Future Employment or Reapplication. Executive hereby understands and

           agrees that he will not reapply for employment with or be re-employed by the Company or any of

           its subsidiaries, divisions or affiliates in the future and that he will never knowingly apply to the

           Company or any          of its subsidiaries, divisions or affiliates for any job or position in the

           future. Executive agrees that if he knowingly or unknowingly applies for a position and is offered

           or accepts such a position, the offer may be withdrawn and he may be terminated without notice,

           cause, or legal recourse.

                   12.      Section 409A. The payments under this Agreement are intended to comply with

           Section 409A of the Internal Revenue Code ("Section 409A") or an exemption thereunder and will

           be construed and administered in accordance with Section 409A or an applicable exemption. Any

           payments under this Agreement that may be excluded from Section 409A either as separation pay

           due to an involuntary separation from service or as a short-term deferral will be excluded from

           Section 409A to the maximum extent possible. For purposes of Section 409A, each installment

           payment provided under this Agreement shall be treated as a separate payment. Any payments to

           be made under this Agreement upon a termination of employment shall only be made upon a




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           "separation from service" under Section 409A. If payment of any amount subject to Section 409A

           is triggered by a separation from service that occurs while Executive is a "specified employee" (as

           defined by Section 409A) with, and if such amount is scheduled to be paid within six months after

           such separation from service, the amount shall accrue without interest and shall be paid on the first

           business day after the end of such six-month period, or, if earlier, within 15 days after Executive’s

           death. If any payment subject to Section 409A is contingent on the delivery of a release by

           Executive and could occur in either of two years, the payment will occur in the later year. As

           required by Treas. Reg. 1.409A-3(i)(1)(iv), in order to be payable to Executive, all expense

           reimbursements must satisfy the following (i) – (iii):

                   (i)      the amount of expenses eligible for reimbursement during each calendar year
                            cannot affect the expenses eligible for reimbursement in any other calendar year;

                   (ii)     any reimbursement of an eligible expense shall be paid to the Executive on or
                            before the last day of the calendar year following the calendar year in which the
                            expense was incurred; and

                   (iii)    any right to reimbursements under this Agreement shall not be subject to liquidation
                            or exchange for another benefit.

                   Notwithstanding anything in this Paragraph 12 to the contrary, with respect to amounts

           payable to the Executive under this Agreement, in no event whatsoever shall the Company be

           liable to Executive for any additional tax, interest or penalty that may be imposed on Executive by

           the Internal Revenue Service under Section 409A or for any damages for failing to comply with

           Section 409A.

                   13.      Medicare Executive represents that he is a Medicare beneficiary. Accordingly,

           Executive affirms, covenants, and warrants he has made no claim for illness or injury against, nor

           is he aware of any facts supporting any claim against, the Released Parties under which Released

           Parties could be liable for medical expenses incurred by Executive before or after the execution of




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           this Agreement. Furthermore, Executive is aware of no medical expenses which Medicare has

           paid and for which Released Parties are or could be liable now or in the future. Executive agrees

           and affirms that, to the best of his knowledge, no liens of any governmental entities, including

           those for Medicare conditional payments, exist. Executive will indemnify, defend, and hold

           Released Parties harmless from Medicare claims, liens, damages, conditional payments, and rights

           to payment, if any, including attorneys' fees, and Executive further agrees to waive any and all

           future private causes of action for damages pursuant to 42 U.S.C. § 1395y(b)(3)(A) et seq.

                   14.      Resolution of Disputes. Any dispute, controversy, or claim, whether contractual

           or non-contractual, between the Parties hereto arising directly or indirectly out of or connected

           with this Agreement, relating to the breach or alleged breach of any representation, warranty,

           agreement, or covenant under this Agreement, unless mutually settled by the Parties hereto, shall

           be resolved by binding arbitration in accordance with the Employment Arbitration Rules of the

           American Arbitration Association (the “AAA”). The Parties agree that before the proceeding to

           arbitration that they will mediate their disputes before the AAA by a mediator approved by the

           AAA. Any arbitration shall be conducted by a single arbitrator approved by the AAA and mutually

           acceptable to Company and Executive. If the Parties are unable to agree on the mediator or the

           arbitrator, then the AAA shall select the arbitrator. The resolution of the dispute by the arbitrator

           shall be final, binding, non-appealable, and fully enforceable by a court of competent jurisdiction

           under the Federal Arbitration Act. The arbitration award shall be in writing and shall include a

           reasoned opinion for the decision. The arbitration shall be held in the Minneapolis metropolitan

           area. The Company shall pay all AAA, mediation, and arbitrator’s fees and costs.

                   15.      Governing Law & Venue. This Agreement will be governed by and construed in

           accordance with the laws of the State of Minnesota without giving any effect to any choice or




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           conflict of law provision that would cause the application of the laws of any jurisdiction other than

           the State of Minnesota. The venue of any dispute arising out of this Agreement will be the District

           Court of Hennepin County, Minnesota, or the United States Federal District Court sitting in

           Minneapolis, Minnesota, unless applicable state or federal law dictates otherwise.


                   16.      Non-Disparagement. Parties agree not to make, or induce other person to make,

           any oral or written statements that are derogatory as to, defame, or disparage the personal and/or

           business reputations, practices or conduct of Employer or Executiveto any person or organization

           whatsoever. Such prohibited derogatory, defamatory or disparaging statements include, but are

           not limited to, private conversations or communications; public statements or communications;

           statements made on the air, whether via radio, television or other media; and statements

           appearing in print, whether in newspapers, magazines, books or other printed sources, or

           electronically on the Internet in the form of e-mail, social media or other postings, or any other

           electronic writing. Parties understand and agree that this mutual non-disparagement term is a

           material term of the Agreement and that any violation of this term would constitute a material

           breach of the Agreement. Parties agree that the current article (“Non Disparagement”) will expire

           after one year has elapsed since the signing date of the Agreement.

                   17.      Waiver. The waiver of one Party of a breach of any provision of this Agreement

           by the other Party will not operate or be construed as a waiver of any subsequent breach.

                   18.      Binding Effect. This Agreement will be binding upon and will inure to the benefit

           of the Parties hereto, their respective heirs, representatives, successors and assigns and will be

           automatically assigned by the Company to the controlling entity in the event the Company is sold




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           or merges with another entity, but will not be assignable by the Parties unless mutually agreed to

           in writing.

                   19.      Entire Agreement. This Agreement will be deemed to express, embody and

           supersede all previous understandings, agreements and commitments, whether written or oral,

           between the Parties hereto with respect to the subject matter hereof and to fully and finally set

           forth the entire agreement between the Parties hereto. No modifications will be binding unless

           stated in writing and signed by all Parties hereto. For the avoidance of doubt, the Parties intend

           Paragraph 9.b to amend the ISO Agreement and for Paragraph 9.c to amend the NQSO Agreement,

           which are by this reference hereby incorporated into this Agreement.

                   20.      Counterparts. The Agreement may be signed in one or more counterparts but all

           of which taken together will constitute one instrument.

                   21.      Article and Headings. Each article, section and subsection heading is not to be

           considered part of this Agreement, is included solely for convenience and is not intended to be full

           or accurate descriptions of the content thereof.

                   22.      Construction. The Parties and their respective counsel have had the opportunity

           to review and revise this Agreement and acknowledge that the normal rule of construction that any

           ambiguities are to be resolved against the drafting Party will not be employed in the interpretation

           of this Agreement.

                   23.      Electronic Signatures. Electronic signatures in the form of PDF or facsimile will

           be considered original signatures for the purpose of this Agreement.




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           IN WITNESS WHEREOF, the undersigned Parties have entered into this Agreement on the day

           and year first above written. THIS AGREEMENT CONTAINS A BINDING ARBITRATION

           PROVISION WHICH MAY BE ENFORCED BY THE PARTIES.

           ACCEPTED AND AGREED:

           __________________________________                   Mar 28, 2022
                                                         Date: __________________________
           Nelu Mihai
           COMPUTE NORTH LLC                             COMPUTE NORTH HOLDINGS, INC.

                    _______________________________             _____________________________
           By:      Dave Perrill                         By:    Dave Perrill

           Its:     Chief Executive Officer              Its:   Chief Executive Officer

                    Mar 28, 2022                                 Mar 28, 2022
           Date: ____________________                    Date: ____________________




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Signature Certificate
Reference number: NZNHU-SWEON-CYNJM-ELRKS




 Signer                                 Timestamp                             Signature

 Nelu Mihai
 Email: nelu.mihai@computenorth.com

 Sent:                                  28 Mar 2022 13:29:26 UTC
 Viewed:                                29 Mar 2022 01:14:05 UTC
 Signed:                                29 Mar 2022 01:30:42 UTC              IP address: 98.210.182.218
                                                                              Location: San Jose, United States



 Dave Perrill
 Email: dave.perrill@computenorth.com

 Sent:                                  28 Mar 2022 13:29:26 UTC
 Viewed:                                29 Mar 2022 01:42:05 UTC
 Signed:                                29 Mar 2022 01:42:39 UTC

                                                                              IP address: 172.58.128.3
                                                                              Location: Hialeah, United States




Document completed by all parties on:
29 Mar 2022 01:42:39 UTC


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